          Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17              Page 1 of 30 PageID 12




           Case Information

           DC-17-05068 JESUS HERNANDEZ vs, ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY, et
           al

           Case Number                        Court                    File Date
           DC-17-05068                        95th District Court      04/28/2017
           Case Type                          Case Statu
           INSURANCE                          OPEN




           Party

           PLAIMTIFT                          Active Attorneysiei
           HERNANDEZ, JESUS                   Lead Attorney
           Address                            WORRALL, MATTHEW
                                              Retained
           1770 Saint James Place, Ste. 100
           Houston TX 77056                   Work Phone
                                              713-963-8881

                                              Fax Phone
                                              713-574-2938




           DEFENDANT                                                 Active Attorneys"
           ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY           Lead Attorney
           Address                                                   BURDETTE, BRADFORD K
           BY SERVING REGISTERED AGENT CT CORPORATION SYSTEM         Retained
           1999 BRYAN ST STE 900                                     Work Phone
           DALLAS TX 75201                                           214-871-8200

                                                                     Fax Phone
                                                                     214-871-8209




Details                              https://courtsportal.dallaseounty.org/DALLASPROD/Home/WorkspaceMode?p=0
          Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                    Page 2 of 30 PageID 13



           DEFENDANT                              Active Attorneys v•
           KALTENBACH, DAVID ROBERT               Lead Attorney
                                                  BURDETTE, BRADFORD K
           Address
                                                  Retained
           3825 TOWNBLUFF DRIVE
           PLANO TX 75023                         Work Phone
                                                  214-871-8200

                                                  Fax Phone
                                                  214-871-8209




           Events and Hearings


             04/28/2017 NEW CASE FILED (OCA) - CIVIL


             04/28/2017 ORIGINAL PETITION v


             Plaintiff's nri-,I;nal Petition


             04/28/2017 CASE FILING COVER SHEET v


             17.04.28 Civil Case Information Sheet- Hemandez.pdf


             04/28/2017 REQUEST FOR SERVICE v


             17.04.28 CP Req- Hemandez.pdf


             04/28/2017 ISSUE CITATION


             04/28/2017 JURY DEMAND


             05/03/2017 CITATION ISSUED •••


             CITATION ISSUED

             CITATION ISSUED


             05/03/2017 CITATION'



Details                                    https://courtsportal.dallaseounty.org/DALLASPROD/Home/WorkspaceMode?p=0
          Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                                Page 3 of 30 PageID 14
            Anticipated Server
            CERTIFIED MAIL

            Anticipated Method
            Actual Server
            CERTIFIED MAIL

            Returned
            05/19/2017
                     ' Server
             CERTIFIED MAIL

             Anticipated Method


             05/09/2017 NOTE - ADMINISTRATOR v


               Comment
               Set for initial dismissal (service/default): June 29, 2017. Notice faxed to counsel.


             05/19/2017 RETURN OF SERVICE v


             ALLSTATE

               Comment
               CIT EXEC 5/8/17 TO ALLSTATE VEHICLE AND PROPERTY INS CO CERT MAIL


             05/26/2017 ORIGINAL ANSWER - GENERAL DENIAL


             Original Answer.pclf


             06/29/2017 DISMISSAL FOR WANT OF PROSECUTION .v•


             Judicjal Officer
             MOLBERG, KEN

             Hearing Time
             9:00 AM




           Financial

           HERNANDEZ
                Total Financial Assessment                                                              $549.00
                Total Payments and Credits                                                              $549.00




Details                                https://courtsportal.dallaseounty.org/DALLASPROD/Home/WorkspaceMode?p=0
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            5/1/2017 Transaction Assessment                                                    $549.00

            5/1/2017 CREDIT CARD - TEXFILE Receipt # 27365-                  HERNANDEZ,       ($549.00)
                          (DC)                          2017-DCLK            JESUS




           Documents


             Plaintiff's Original Petition

             17.04.28 Civil Case Information Sheet- Hernandez.pcif

             17.04.28 CP Req. Hernandez.pdf

             CITATION ISSUED

             CITATION ISSUED

             ALLSTATE

             Original Answer,pdf




Details                                      https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0
                                                                                                               FILED
                                                                                                   DALLAS COUNTY
 Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                   Page 5 of 30 PageID        16
                                                                                                4/28/2017 4:43:52 PM
                                                                                                      FELICIA PITRE
                                                                                                   DISTRICT CLERK

                                                                                               Tonya Pointer
                                                 DC-17-05068
                                        Cause No.

JESUS HERNANDEZ                                                           IN THE DISTRICT COURT
                           Plaintiff;
V.
                                                                          DALLAS COUNTY, TEXAS

ALLSTATE VEHICLE AND PROPERTY
INSURANCE COMPANY AND DAVID                                                     JUDICIAL DISTRICT
ROBERT KALTENBACH,
                  Defendants.



                           PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Jesus Hernandez, (hereinafter referred to as "Plaintiff'), and files this

Original Petition against Defendants, Allstate Vehicle and Property Insurance Company

("Allstate") and David Robert Kaltenbach ("Kaltenbach") (to whom will be collectively referred

to as "Defendants"), and respectfully would show this court as follows:

                                             PARTIES

1.     Plaintiff, Jesus Hernandez, is an individual residing in and/or owning property in Dallas

County, Texas.

2.     Defendant, Allstate, is an insurance company that engaged in the business of insurance in

the State of Texas at all times material to this action. This defendant may be served via certified

mail, return receipt requested by serving its Registered Agent for service of process: C T

Corporation System, 1999 Bryan St., Ste. 900, Dallas, Texas 75201-3136.

3.     Defendant, David Robert Kaltenbach, is an individual residing in Plano, Texas and is an

adjuster with a designated home state of Texas licensed with the Texas Department of Insurance.


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This defendant may be served via certified mail, return receipt requested at 3825 Townbluff Drive,

Plano, Texas 75023.



                                      DISCOVERY LEVEL

5.     Plaintiff intends for discovery to be conducted under Level 2 of Rule 190 of the Texas

Rules of Civil Procedure.

                                         JURISDICTION

6.     The Court has jurisdiction over this controversy because the damages are within the

jurisdictional limits of this court. Plaintiff is seeking monetary relief over $200,000 but not more

than $1,000,000. Plaintiff reserves the right to amend this petition during and/or after the discovery

process.

7.     The Court has jurisdiction over Defendant, Allstate, because this Defendant engaged in the

business of insurance in the State of Texas, and Plaintiff's causes of action arise out of Defendant's

business activities in the State of Texas.

8.      The Court has jurisdiction over Defendant, Kaltenbach, because this Defendant engages in

the business of adjusting insurance claims in the State of Texas, and Plaintiff's causes of action

arise out of Defendant's business activities in the State of Texas.



                                              VENUE

10.     Venue is proper in Dallas County, Texas, because the insured property is situated in Dallas

County, Texas. TEX. CIV. PRAC. & REM. CODE § 15.032.

                                              FACTS


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11.    Plaintiff is the owner of a property insurance policy ("the Policy") issued by Allstate.

12.    Plaintiff owns the insured property located at 4663 Wyoming St., Dallas, Texas 75211, in

Dallas County (hereinafter referred to as "the Property"). Allstate sold the Policy insuring the

Property to Plaintiff.

13.     On or about April 12, 2016, a hail storm and/or windstorm struck Dallas County, Texas,

causing severe damage to homes and businesses throughout the region ("the Storm") including the

Property. The Storm damaged the Property including extensive damage to Plaintiffs roof.

14.     Plaintiff subsequently submitted a claim to Allstate for the damage the Property sustained

as a result of the Storm. Plaintiff requested that Allstate cover the cost of repairs, including but

not limited to, replacement of the roof pursuant to the Policy.

15.     Defendant Allstate assigned Kaltenback as the individual adjuster ("the adjuster") on the

claim. The adjuster was improperly trained and failed to perform a thorough investigation of the

claim spending an inadequate amount of time inspecting Plaintiffs property. The adjuster

conducted a substandard inspection of Plaintiffs Property evidenced by the adjuster's report,

which failed to include all of Plaintiffs storm damages noted upon inspection. The damages the

adjuster included in the report were grossly undervalued and did not allow for adequate funds to

cover the cost of repairs to all the damages sustained. Plaintiff submitted an estimate for damages

that Allstate completely ignored.

16.     Allstate and its personnel failed to thoroughly review and properly supervise the work of

their assigned adjuster which ultimately led to the approving an improper adjustment and an

inadequately unfair settlement of Plaintiffs claim. For example, Kaltenback failed to explain why

Plaintiffs property damage was under deductible and did not provide any of his photos taken


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during the inspection. Kaltenback misrepresented that the hail damage was not fully covered under

Plaintiff's policy. As a result of Defendants' wrongful acts and omissions set forth above and

further described herein, Plaintiff was wrongfully denied on the claim and has suffered damages.

17.     Together, Defendants set about to deny and/or underpay on properly covered damages. For

example, numerous correspondence Defendants sent to Plaintiff misrepresents three different dates

of loss in an attempt to increase Plaintiff's deductible and not pay for the covered damages.

Defendants failed to provide full coverage for the damages sustained by Plaintiff and under-scoped

Plaintiff's damages, thereby denying adequate and sufficient payment on Plaintiff's claim. As a

result of Defendants' unreasonable investigation, Plaintiff's claim was improperly adjusted, and

Plaintiff was wrongfully denied on the claim and has suffered damages. The mishandling of

Plaintiff's claim has also caused a delay in Plaintiff's ability to fully repair the Property, which has

resulted in additional damages. To this date, Plaintiff has yet to receive the full payment that he

is entitled to under the Policy.

18.     As detailed in the paragraphs below, Allstate wrongfully denied Plaintiff's claim for repairs

of the Property, even though the Policy provided coverage for losses such as those suffered by

Plaintiff.

19.     To date, Allstate continues to delay in the payment for the damages to the Property. As

such, Plaintiff has not been paid in full for the damages to the Property.

20.     Defendant Allstate failed to perform its contractual duties to adequately compensate

Plaintiff under the terms of the Policy. Specifically, it refused to pay the full proceeds of the

Policy, although due demand was made for proceeds to be paid in an amount sufficient to cover

the damaged property, and all conditions precedent to recovery upon the Policy had been carried


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out and accomplished by Plaintiff. Allstate's conduct constitutes a breach of the insurance contract

between Allstate and Plaintiff.

21.    Defendants misrepresented to Plaintiff that the damage to the Property was not covered

under the Policy, even though the damage was caused by a covered occurrence. Defendants'

conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.

INS. CODE § 541.060(a)(1).



22.     Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner, although

they were aware of their liability to Plaintiff under the Policy. Defendants' conduct constitutes a

violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §

541.0060(a)(2)(A).

23.     Defendants failed to explain to Plaintiff the reasons for their offer of an inadequate

settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation, without any

explanation why full payment was not being made. Furthermore, Defendants did not communicate

that any future settlements or payments would be forthcoming to pay for the entire losses covered

under the Policy, nor did they provide any explanation for the failure to adequately settle Plaintiffs

claim. Defendants' conduct is a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE § 541.060(a)(3).

24.     Defendants failed to affirm or deny coverage of Plaintiffs claim within a reasonable time.

Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding the

full and entire claim, in writing from Defendants. Defendants' conduct constitutes a violation of

the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a)(4).


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25.    Defendants refused to fully compensate Plaintiff, under the terms of the Policy, even

though Defendants failed to conduct a reasonable investigation. Specifically, Defendants

performed an outcome-oriented investigation of Plaintiffs claim, which resulted in a biased,

unfair, and inequitable evaluation of Plaintiffs claim on the Property. Defendants' conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

§ 541.060(a)(7).



26.    Defendant Allstate failed to meet its obligations under the Texas Insurance Code regarding

timely acknowledging Plaintiffs claim, beginning an investigation of Plaintiffs claim, and

requesting all information reasonably necessary to investigate Plaintiffs claim, within the

statutorily mandated time of receiving notice of Plaintiff s claim. Allstate's conduct constitutes a

violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE § 542.055.

27.    Defendant Allstate failed to accept or deny Plaintiffs full and entire claim within the

statutorily mandated time of receiving all necessary information. Allstate's conduct constitutes a

violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE § 542.056.

28.    Defendant Allstate failed to meet its obligations under the Texas Insurance Code regarding

payment of claim without delay. Specifically, it has delayed full payment of Plaintiffs claim

longer than allowed and, to date, Plaintiff has not received full payment for the claim. Allstate's

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.

INS. CODE § 542.058.

29.    From and after the time Plaintiffs claim was presented to Defendant Allstate, the liability

of Allstate to pay the full claim in accordance with the terms of the Policy was reasonably clear.


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However, Allstate has refused to pay Plaintiff in full, despite there being no basis whatsoever on

which a reasonable insurance company would have relied to deny the full payment. Allstate's

conduct constitutes a breach of the common law duty of good faith and fair dealing.

30.        Defendants knowingly or recklessly made false representations, as described above, as to

material facts and/or knowingly concealed all or part of material information from Plaintiff.

31.        As a result of Defendants' wrongful acts and omissions, Plaintiff was forced to retain the

professional services of the attorney and law firm who are representing them with respect to these

causes of action.

32.        Plaintiff's experience is not an isolated case. The acts and omissions Allstate committed

in this case, or similar acts and omissions, occur with such frequency that they constitute a general

business practice of Allstate with regard to handling these types of claims. Allstate's entire process

is unfairly designed to reach favorable outcomes for the company at the expense of the

policyholders.

                                        CAUSES OF ACTION

33.        Each of the foregoing paragraphs is incorporated by reference in the following:

      I.       Causes of Action Against Kaltenbach

34.        Allstate assigned Kaltenbach to adjust this claim. Kaltenbach was improperly trained and

performed an outcome oriented and unreasonable investigation of Plaintiff's damages. Kaltenbach

did not properly assess all damages caused by the Storm and omitted covered damages from the

report including the full extent of damage to the roof. Kaltenbach refused to fully compensate

Plaintiff for the full amount Plaintiff is entitled under the Policy. The outcome oriented

investigation of Plaintiff's claim resulted in a biased evaluation of Plaintiff's damages to the


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Property and the estimated damages were severely underestimated.

       A.       Noncompliance with Texas Insurance Code: Unfair Settlement Practices

35,    Defendant Kaltenbach's conduct constitutes multiple violations of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). All violations under this article

are made actionable by TEX. INS. CODE § 541.151.

35.    Defendant Kaltenbach is individually liable for their unfair and deceptive acts, irrespective

of the fact Kaltenbach was acting on behalf of Allstate, because Kaltenbach is a "person" as

defined by TEX. INS. CODE § 541.002(2). The tem' "person" is defined as "any individual,

corporation, association, partnership, reciprocal or interinsurance exchange, Lloyds plan, fraternal

benefit society, or other legal entity engaged in the business of insurance, including an agent,

broker, adjuster or life and health insurance counselor." TEX. INS. CODE § 541.002(2) (emphasis

added). (See also Liberty Mutual Insurance Co. v. Garrison Contractors, Inc., 966 S.W. 2d 482,

484 (Tex. 1998) (holding an insurance company employee to be a "person" for the purpose of

bringing a cause of action against him or her under the Texas Insurance Code and subjecting him

or her to individual liability)).

36.     Defendant's misrepresentations by means of deceptive conduct include, but are not limited

to: (1) failing to conduct a reasonable inspection and investigation of Plaintiff's damages; (2)

stating that Plaintiff's damages were less severe than they in fact were; (3) using their own

statements about the non-severity of the damages as a basis for denying properly covered damages

and/or underpaying damages; and (4) failing to provide an adequate explanation for the inadequate

compensation Plaintiff received. Defendant Kaltenbach's unfair settlement practices, as described

above, of misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes


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an unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE § 541.060 (a)(1).

37.    Defendant Kaltenbach's unfair settlement practices, as described above, of failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

liability under the Policy is reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE §

541.060(a)(2)(A).

38.    Defendant Kaltenbach failed to explain to Plaintiff the reasons for the offer or offers of an

inadequate settlement. Specifically, Defendant Kaltenbach failed to offer Plaintiff adequate

compensation without any explanation as to why full payment was not being made. Furthermore,

Defendant Kaltenbach did not communicate that any future settlements or payments would be

forthcoming to pay for the entire losses covered under the Policy, nor was there any explanation

for the failure as described above, of failing to promptly provide Plaintiff with a reasonable

explanation of the basis in the Policy, in relation to the facts or applicable law, for the offer of a

compromise settlement of Plaintiff's claim, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE § 541.060(a)(3).

39.     Defendant Kaltenbach's unfair settlement practices, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE § 541.060(a)(4).

40.     Defendant Kaltenbach did not properly inspect the Property and failed to account for and/or

undervalued Plaintiff's roof damage, although reported by Plaintiff to Allstate. Defendant


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Kaltenbach's unfair settlement practices, as described above, of refusing to pay Plaintiff's claim

without conducting a reasonable investigation, constitutes an unfair method of competition, and

an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE §

541.060(a)(7).



             Causes of Action Against Allstate

41.    Allstate intentionally breached its contract with Plaintiff, intentionally violated the Texas

Insurance Code and intentionally breached the common law duty of good faith and fair dealing.



       A.        Breach of Contract

42.     Allstate breached the contract of insurance it had with Plaintiff. Allstate breached the

contract by its failure/and or refusal to adequately pay the claim as it is obligated to do under the

terms of the Policy in question and under the laws in the State of Texas.

        B.       Noncompliance with Texas Insurance Code: Unfair Settlement Practices

43.     Defendant Allstate's conduct constitutes multiple violations of the Texas Insurance Code,

Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). All violations under this article were

made actionable by TEX. INS. CODE § 541.151.

44.     Defendant Allstate's unfair settlement practice, as described above, of misrepresenting to

Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of competition

and an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE §

5410 .060(a)(1).




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45.    Defendant Allstate's unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though Allstate's

liability under the Policy was reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE §

541.060(a)(2)(A).

46.     Defendant Allstate's unfair settlement practice, as described above, of failing to promptly

provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts or

applicable law, for its offer of a compromise settlement of the claim, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE § 541.060(a)(3).

47.     Defendant Allstate's unfair settlement practices, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of compensation and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE § 541.060(a)(4).

48.     Defendant Allstate's unfair settlement practice, as described above, of refusing to pay

Plaintiff's claim without conducting a reasonable investigation, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE § 541.060(a)(7).

        C.      Noncompliance with Texas Insurance Code: Prompt Payment of Claims
                Statute

49.     Plaintiff is entitled to 18% interest and attorney fees under TEX. INS. CODE §542.060 for

violating the Texas Insurance Code, Prompt Payment of claims TEX. INS. CODE §542.051 et. seq.

50.     Allstate failed to acknowledge receipt of Plaintiff's claim, commence investigation of the

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claim, and request from Plaintiff all items, statements, and forms that it reasonably believed would

be required within the applicable time constraints under TEX. INS. CODE §542.055.

51.    Allstate failed to notify Plaintiff in writing of its acceptance or rejection of the claim within

applicable time constraints under TEX. INS. CODE §542.056.

52.    Allstate delayed the payment of Plaintiffs claim following its receipt of all items,

statements, and forms reasonably requested and required, longer than the amount of time provided

for under TEX. INS. CODE §542.058.

        D.     Breach of the Duty of Good Faith and Fair Dealing

53.     Allstate breached the duty of good faith and fair dealing by failing to adequately and

reasonably investigate and evaluate Plaintiffs claim while it knew or should have known, by the

exercise of reasonable diligence, that its liability was reasonably clear.

        E.     Knowledge

54.     Each of the acts described above, together and singularly, was done "knowingly" as that

term is used in the Texas Insurance Code.

                                            DAMAGES

55.     Plaintiff would show that all of the aforementioned acts, taken together or singularly,

constitute the producing causes of the damages sustained by Plaintiff.

56.     The damages caused by the hail storm and/or windstorm have not been properly addressed

or repaired in the months since the storm, causing further damages to the Property, and causing

undue hardship and burden to Plaintiff. These damages are a direct result of Defendants'

mishandling of Plaintiff s claim in violation of the laws set forth above.

57.     For breach of contract, Plaintiff are entitled to regain the benefit of their bargain, which is


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the amount of his claim, together with attorney's fees.

58.      For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the policy, court costs, and attorney's fees. For knowing conduct of the acts described

above, Plaintiff ask for three times their actual damages. TEX. INS. CODE § 541.152.

59.      For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

entitled to the amount of the claim, as well as 18% (eighteen percent) interest per annum on the

amount of such claim as damages, together with attorney's fees. TEX. INS. CODE § 542.060.

60.      For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages and damages for emotional stress.

61.      For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiff is entitled

to recover a sum for the reasonable and necessary services of Plaintiff's attorney in the preparation

and trial of this action, including any appeals to the Court of Appeals and/or the Supreme Court of

Texas.

                                         JURY DEMAND

62.      Plaintiff hereby demands a trial by jury and tender the appropriate fee.



                                        DISCOVERY REQUESTS




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63.     Pursuant to Texas Rules of Civil Procedure 194, Plaintiff requests that each Defendant

disclose, within 30 days of service of this request, the information or materials described in Texas

Rule of Civil Procedure 194.2(a)-(1).

64.     Defendants are requested to respond to the attached interrogatories and requests for

production within fifty (50) days.

                                              PRAYER

65.     WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this court site Defendants

to appear and answer herein and that Plaintiff has judgment taken against Defendants and recovers

from Defendants all damages allowed by law, and that Plaintiff be awarded attorneys' fees for trial

and any appeal of this case, for pre-judgment and post judgment interest as allowed by law, costs

of court, and such other and further relief, both general and special, at law or in equity, to which

Plaintiff is justly entitled.



                                              Respectfully submitted,

                                              WORRALL LAW GROUP, PLLC


                                        By:     /s/ Matthew I Worrall
                                               Matthew J. Worrall
                                               SBN: 24070883
                                               1770 St. James Place, Suite 100
                                               Houston, Texas 77056
                                               Telephone (713) 523-5500
                                               Facsimile: (713) 583-3411
                                               Email: mworrall@worralllawxom


                                               ATTORNEY FOR PLAINTIFF




                                                 14
                                                                                                                                                                                                            FILED
                                                                                                                                                                                                DALLAS COUNTY
                   Case 3:17-cv-01511-D Document 1-2INFORMATION
                                         CIVIL CASE    Filed 06/07/17
                                                                  SHEETPage 19 of 30 PageID 30                                                                                               4/28/2017 4:43:52 PM
                                                                                                                                                                                                   FELICIA PITRE
                                                                        DC-17-05068                                                                                                             DISTRICT CLERK
             CAUSE NUMBER (FOR CLERK USE ONLY):                                                                           COURT (FOR CLERK USE ONLY)
                                Jesus Hernandez v. Allstate Vehicle and Property Insurance Company and David Robert Kaltenbach
                                 (e.g.. John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter or the Estate of George Jackson)
 A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
 health case or when a post-judgment petition for modification or motion for enforcement is riled in a family law case, The information should he the best available at
   c time offiling,
1. Contact information for person completing case information sheet:                              Names of parties in case: •                                Person or entity completing sheet is:
                                                                                                                                                           ID Attorney for Plaintiff/Petitioner
Name:                                                   Email:                                    Plaintiffls)/Petitionens I:                              0Pro Sr Plaintiff/Petitioner
                                                                                                                                                           0Title IV -D Agency
 Matthew J. Worrall                                     niworrallQiwomtfllaw.coni                  Jesus Hernandez                                         00ther

Address:                                                Telephone:
                                                                                                                                                           Additional Parties in Child Support Case:
 1770 Saint James Place                                 (713) 523-5500
                                                                                                  Defendant(s)/Respondent(s):                              Custodial Parent:
City/State/Zip:                                         Fax:
                                                                                                   Allstate Vehicle and Property
 Ste. 100 Houston, TX 77056                             (713) 583-3411                                                                                     Non-Custodial Parent:
                                                                                                  Insurance Company and David
Signature:                                              State Bar No:
                                                                                                  Robert Kaltenbach                                        Presumed Father:
Matthew J. Worrell Ir„";6„;7,7,-;:•1,V,7,-,,..r'        24070883
                                                                                                  [Attach additiorml pastas accessary to lin all panics]
2. Indicate case type, or identify the most important issue in the case (select only I):
                                                               Civil                                                                                           Family Lan,
                                                                                                                                                                       . - Post-Judgment Adkins
         Contract                              .    Injury or Damage                             Real Property                       Marriage Relationship •                       (non-Title (V-D)
Debi/Con/ma                                   7:Assault/Battery                        0Eminent Domain/                            0 Annulment                          0Enforcement
   0Consumer/DTPA                                  0Construction                           Condemnation                            NI Declare Man:lase Void             0 Modi tication—Custody
   ODebt/Contract                                  0 Delltmation                       0rani! ion                                  Divorce                              0 Modification—Other
   0Fraud/M isrepresentat ion                      AluIpmetice                         • Quiet Title                                  •With Chiklren                                 Title IV-D
   00ther Debt/Contract:                             0Aecounting                       ['Trespass to Try Title                       0No Children                      0Enforcement/Modiricat ion
                                                     01..egal                          • Other Property:                                                               0Paternity
Foreclosure                                          0Medical                                                                                                          0 Reciprocals (UIFSA)
   0 Home Equity—Expedited                           ['Other Professional                                                                                              0Support Order
   D Other Foreclosure                                  Liability:
P Franchise                                                                                   Related to Criminal
                                                   0Motor Vehicle Accident                         Matters        •                     Other Family Law                 Parent-Child Relationship
0 Insurance
NI Landlord/Tenant                                 DPremises                           0Expunction                                  0Enforce Foreign                    0Adopt ion/Adoption with
DNon-Competition                                   Product LiabiliO,                   ['Judgment Nisi                                 Judgment                           Termination
0Partnership                                        0 Asbestos/Silica                  0Non-Disclosure                              0Habeas Corpus                      OChild Protection
00ther Contract:                                    Dottier Product Liability          I:Seizure/Forfeiture                         (=Name Change                       0C7hild Support
                                                       List Product:                   ['Writ of Habeas Corpus—                     I:Protective Order                  OCustody or Visitation
                                                                                        Pre-indietment                              0Removal of Disabilities            0Gestational Parenting
                                                   00thcr Injury or Damage:            0Other:                                        of Minority                       0Grandparent Access
                                                                                                                                    00ther:                             0Parentage/Paternity
                                                                                                                                                                        0Tennination of Parental
                                                                                                                                                                         Rights
            Employment                                                         Other Civil
                                                                                                                                                                       Pother Parent-Child:
0Discrimination                                    ['Administrative Appeal             0Lawyer Discipline                                                                  _....
0 Retaliation                                      0Antitrust/Unfair                   OPetpctuate Testimony
0Tennination                                          Competition                      OSereurities/Stock
0Workers' Compensation                             0Code Violations                    0Tortious Interference
0Other Employment:                                 0Foreign Judgment                   Oother
                                                   Clinteilectual Property

                   Tax                                                                                    Probate & Mental Health
 MI Tax Appraisal                                   Probate/Wills/Iniestate Administration                                  OCivardianship--Adult
 0Tax Delinquency                                     0Dependent Administration                                             •Guard ianship—M i nor
 00ther Tax                                           ['Independent Administration                                          0Mental Health
                                                      00ther Estate Proceedings                                             00ther

3. Indicate procedure or remedy if applicable (may select more than 1):
 fl Appeal from Municipal or Justice Court                                  0Declaratory Judgment                                              0Prejudgment Remedy
 0 Arbitra lion-related                                                     0Garnislonctit                                                     0 Protective Order
 0 Attachment                                                               0 Interpleader                                                     0 Receiver
 0Bill of Review                                                            0License                                                           p Sequestration
 0Certiorari                                                                ['Mandamus                                                         OTemporary Restraining Order/injunction
 0Class Action                                                          _   • Post-judgment                                                    OTumover
4. Indicate damages sought (do not select (fit is a family law case):
 0 Less than S100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 0 EeSli than S100.000 and non-monetary relief
                                                                                                                                                     EXHIBIT
                                                                                                                                                  ..,
 I:Over S100. 000 but not more Man S200,000
    Ove r 5200,000 but not more than $1,000,000
 00ver S1.000,000                                                                                          L                                                                 1
                                                                                                                                                                                            Rev 2/13
                                                                                                                                      FILED
                                     DC-17-05068                                                                          DALLAS COUNTY
            Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                          Page 20 of 30 PageID 31          4/28/2017 4:43:52 PM
                                                                                                                             FELICIA PITRE
                                   CIVIL PROCESS REQUEST                                                                  DISTRICT CLERK


                           FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING
                          FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED

CASE NUIV1BER:                                                  CURRENT COURT:

TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types):            Plaintiffs Original Petition

FILE DATE OF MOTION:                    04.28.2017
                                                                   Month/     Day/      Year

SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
1. NAME: Allstate Vehicle and Property Insurance Company
     ADDRESS:            1999 Bryan St., Ste. 900, Dallas, Texas 75201-3136
     AGENT, (if applicable):     C T Corporation System
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific (ype): Citation
     SERVICE BY (check one):
        O ATTORNEY PICK-UP                          0 CONSTABLE
        O CIVIL PROCESS SERVER - Authorized Person to Pick-up:                                      Phone:
        • MAIL                                           CERILFThD MAIL
        0 PUBLICATION:
              Type of Publication: D COURTHOUSE DOOR, or
                                   0 NEWSPAPER OF YOUR CHOICE:
        O OTHER, explain

            **********************************************************************************************




2. NAME: David Robert Kaltenbach
     ADDRESS:           3825 Townbluff Drive, Plano, Texas 75023
     AGENT, (if applicable):
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specc type): Citation
     SERVICE BY (check one):
        O ATTORNEY PICK-UP                                      0 CONSTABLE
            O   CIVIL PROCESS SERVER - Authorized Person to Pick-up:                                Phone:
            O   rt&ii                                           LXI CERIlk1ED MAIL
            O   PUBLICATION:
                 Type of Publication: 0 COURTHOUSE DOOR, or
                                       0 NEWSPAPER OF YOUR CHOICE:
            O   OTHER, explain


ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME:       Matthew J. Worrall                                      TEXAS BAR NWID NO.         24070883
MAILING ADDRESS: 1770 Saint James Place, Suite 100, Houston, Texas 77056
PHONE NUMBER: (713)                         523-5500                    FAX NUMBER:    (713)        583-3411
                            area code            phone number                           area code         fax number

EMAIL ADDRESS:              mworrall@worralllaw.com



,T1r,1/10         /An
            Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17              Page 21 of 30 PageID 32
   SERVICE REQUESTS WHICH CANNOT BE PROCESSED BY THIS OFFICE WILL BE HELD FOR 30 DAYS PRIOR TO
   CANCELLATION. FEES WILL BE REFUNDED ONLY UPON REQUEST, OR AT THE DISPOSITION OF THE CASE.
   SERVICE REQUESTS MAY BE REINSTATED UPON APPROPRIATE ACTION BY THE PARTIES.




INSTRUMENTS TO BE SERVED:                                                 PROCESS TYPES:
(Fill In Instrument Sequence Number, i.e. 1st, 2nd, etc.)
                                                                          NON WRIT:
ORIGINAL PETITION                                                         CITATION
       AMENDED PETITION                                                   ALIAS CITATION
       SUPPLEMENTAL PETITION                                              PLURIES CITATION
                                                                          SECRETARY OF STATE CITATION
                                                                          COMMISSIONER OF INSURANCE
COUNTERCLAIM                                                              HIGHWAY COMMISSIONER
      AMENDED COUNTERCLAIM                                                CITATION BY PUBLICATION
       SUPPLEMENTAL COUN I ERCLAIM                                        NOTICE
                                                                          SHORT FORM NOTICE
CROSS-ACTION:
       AMENDED CROSS-ACTION                                               PRECEPT (SHOW CAUSE)
        SUPPLEMENTAL CROSS-ACTION                                         RULE 106 SERVICE

THIRD-PARTY PETITION:                                                     SUBPOENA
       AMENDED THIRD-PARTY PETITION
        SUPPLEMENTAL THIRD-PARTY PETITION                                 WRITS:
                                                                          ATTACHMENT (PROPERTY)
INTERVENTION:                                                             ATACHMENT (WITNESS)
       AMENDED INTERVENTION                                               A I I ACHMENT (PERSON)
        SUPPLEMENTAL INTERVENTION

INTERPLEADER                                                              CERTIORARI
       AMENDED INTERPLEADER
       SUPPLEMENTAL IN IERPLEADER                                         EXECUTION
                                                                          EXECUTION AND ORDER OF SALE

                                                                          GARNISHMENT BEFORE JUDGMENT
INJUNCTION                                                                GARNISHMENT AFTER JUDGMENT

MOTION TO MODIFY
                                                                          HABEAS CORPUS
SHOW CAUSE ORDER                                                          INJUNCTION
                                                                          TEMPORARY RESTRAINING ORDER
TEMPORARY RESTRAINING ORDER
                                                                          PROTECTIVE ORDER (FAMILY CODE)
                                                                          PROTECTIVE ORDER (CIVIL CODE)

BILL OF DISCOVERY:
     ORDER TO:                                                            POSSESSION (PERSON)
                                      (specify)                           POSSESSION (PROPERTY)

     MOTION TO:
                                      (specify)
                                                                          SCIRE FACIAS
                                                                          SEQUESTRATION
                                                                          SUPERSEDEAS




                                                            Page 2 of 2

OTWOTIV2          mn
                  Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                          Page 22 of 30 PageID 33



                                                                                                                  cERT MAIL
FORM NO. 353-3 - CITATION
THE STATE OF TEXAS                                                                                                  CITATION

To:     DAVID ROBERT KALTENBACH
        3825 TOWNBLUFF DRIVE                                                                                       DC-17-05068
        PLANO TX 75023

GREETINGS:                                                                                                     JESUS HERNANDEZ
You have been sued. You may employ an attorney. If you or your attorney do not file a written                          vs.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the      ALLSTATE VEHICLE AND PROPERTY
expiration of twenty days after you were served this citation and petition, a default judgment may be       INSURANCE COMPANY, et al
taken against you. Your answer should be addressed to the clerk of the 95th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                   ISSUED THIS
                                                                                                              •3rd day of May, 2017
Said Plaintiff being JESUS HERNANDEZ
                                                                                                                  FELICIA PITRE
Filed in said Court 28th day of April, 2017 against                                                             Clerk District Courts,
                                                                                                                Dallas County, Texas
ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY AND DAVID ROBERT
KALTENBACH
                                                                                                               By: GAY LANE, Deputy
For Suit, said suit being numbered DC-I 7-050681 the nature of which demand is as follows:
Suit on INSURANCE etc. as shown on said petition, REQUEST FOR DISCLOSURE,                                       Attorney for Plaintiff
INTERROGATORIES, REQUEST FOR PRODUCTION, a copy of which accompanies this citation.                            MATTHEW WORRALL
If this citation is not served, it shall be returned unexecuted.                                           WORRALL LAW GROUP PLLC
                                                                                                          1770 ST JAMES PLACE, SUITE 100
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                   HOUSTON TX 77056
Given under my hand and the Seal of said Court at office this 3rd day of May, 2017.                                 713-523-5500

ATTEST: FELICIA P1TRE, Clerk of the District Courts of Dallas, County, Texas

                          By      P       j s                        , Deputy
                                GAY



                                                                                                        DALLAS COUNTY CONSTABLE
                                                                                                                          iflT
                                                                                                            FEES
                                                EXHIBIT                                                     PAID
                                         3              P',IF
                         Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                                              Page 23 of 30 PageID 34



                                                                           OFFICER'S RETURN
    Case No. : DC- I 7-050614

    Court No.95th District Court

    Style: JESUS HERNANDEZ

    vs.

    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY, et al
    Came to hand on the 3RDday of MAY 2017 at 1:47 o'clock PM. Executed at 3825T0W1'4BLUFF DRIVE within the County of                                                 at

                     .M. on the                      day of                                                    20                    • by delivering to the within named DAVI!)
    o'clock

    Roilcia KALTENBACH, BY US CERTIFIED MAIL RETURNED RECEIPT RECEIVED AND SIGNED BY


.   each, in person, a true copy of this Citation together with the accompanying. copy of this pleading; having first endorsed on same date of delivery. The distance actually traveled by

    me in serving such process was               miles and my fees are as follows: To certify which witness my hand.



                                   For serving Citation          S_76

                                   For mileage                                                 of                        County,

                                   For Notary                                                   By                                                 Deputy

                                                                   (Must be verilied if served outside the State of Texas.)

    Signed and sworn to by the said                                  before me this         day of                            , 20

    to certify which witness my hand and seal of office.

    9214 8901 0661 5400 0106 8077 69


                                                                                               Notary Public                         County
                      Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                     Page 24 of 30 PageID 35


                                                                                                                     CERT MAIL
FORM NO. 353-3 - CITATION
THE STATE OF TEXAS                                                                                                    CITATION

To:     ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY
        BY SERVING REGISTERED AGENT CT CORPORATION SYSTEM                                                             DC-17-05068
        1999 BRYAN ST STE 900
        DALLAS TX 75201
                                                                                                               JESUS HERNANDEZ
GREETINGS:                                                                                                             vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
                                                                                                        ALLSTATE VEHICLE AND PROPERTY
answer with the clerk who issued this citation by 10 o'clock a.m. °Idle Monday next following the           INSURANCE COMPANY, et al
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 95th District Court at 600                    ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                3rd day of May, 2017

Said Plaintiff being JESUS HERNANDEZ                                                                           , FELICIA PITRE
                                                                                                                 Clerk District Courts,
Filed in said Court 28th day of April, 2017 against                                                              Dallas County, Texas

ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY AND DAVID ROBERT
KALTENBACH                                                                                                     By: GAY LANE, Deputy

For Suit, said suit being numbered DC-17-05068, the nature of which demand is as follows:                       Attorney for Plaintiff
Suit on INSURANCE etc. as shown on said petition, REQUEST FOR DISCLOSURE,                                      MATTHEW WORRALL
INTERROGATORIES, REQUEST FOR PRODUCTION, a copy of which accompanies this citation.                        WORRALL LAW GROUP PLLC
If this citation is not served, it shall be returned unexecuted.                                          1770 ST JAMES PLACE, SUITE 100
                                                                                                                HOUSTON TX 77056
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas,
                                                                                                                    713-523-5500
Given under my hand and the Seal of said Court at office this 3rd day of May, 2017.

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas




                                                                                                           DALLAS COUNTY
                                                                                                               FEES_
                                                                                                               PAID
                         Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                                           Page 25 of 30 PageID 36


                                                                          OFFICER'S RETURN
Case No. DC-17-05068

Court No.95th District Court

Style: JESUS HERNANDEZ

vs.
ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY, et al

Came to hand on the 3R1)day of MAY 2017 at 1:43 o'clock PM. Executed at 1999 BRYAN sr STE 900 within the County of                                              at

o'clock          .M. on the                      day of                                                      , 20                  , by delivering to thd within named ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY BY SERVING rrs REGISTERED AGENT C 1, CORPORATION SYSTEM, BY US CERTIFIED MAIL

RETURNED RECEIPT RECEIVED AND SIGNED BY


each, in person. a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was               miles and my lees are as follows: To certify which witness my hand.



                               For serving Citation          $       76

                               For mileage                                                   of                        County,

                               For Notary                                                     By                                               Deputy

                                                                 (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said                                   before me this          day of                            , 20

to certify which witness my hand and seal of office.

9214 8901 0661 5400 0106 8071 41


                                                                                             Notary Public                         County
                     Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                       Page 26 of 30 PageID 37



FORM NO. 353-3 - CITATION                                                                                             CERT MAIL

THE STATE OF TEXAS                                                                                                    CITATION
To:    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY
       BY SERVING REGISTERED AGENT CT CORPORATION SYSTEM                                                              DC-17-05068
       1999 BRYAN ST STE 900
       DALLAS TX 75201
                                                                                                               JESUS H li,RNANDEZ
GREETINGS:                                                                                                              vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
                                                                                                        ALLSTATE VEHICLE AND PROPERTY
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
                                                                                                           INSURANCE COMPANY, et al
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 95th District Court at 600
                                                                                                                  ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                               3rd day of May, 2017
Said Plaintiff being JESUS HERNANDEZ                                                                               FELICIA PITRE
                                                                                                                 Clerk District Courts,
Filed in said Court 28th day of April, 2017 against                                                              Dallas County, Texas
ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY AND DAVID ROBERT
KALTENBACH                                                                                                     By: GAY LANE, Deputy
For Suit, said suit being numbered DC-17-05068, the nature of which demand is as follows:
                                                                                                                 Attorney for Plaintiff
Suit on INSURANCE etc. as shown on said petition, REQUEST FOR DISCLOSURE,                                      MATTHEW WORRALL
INTERROGATORIES, REQUEST FOR PRODUCTION, a copy of which accompanies this citation.
                                                                                                            WORRALL LAW GROUP PLLC
If this citation is not served, it shall be returned unexecuted.
                                                                                                          1770 ST JAMES PLACE, SUITE 100
                                                                                                                HOUSTON TX 77056
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
                                                                                                                    713-523-5500
Given under my hand and the Seal of said Court at office this 3rd day of May, 2017.

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas




                                                                                                           DALLAS COUNTY
                                                                                                               FEES
                                                                                                               PAID
     Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                       Page 27 of 30 PageID 38

rz'   UNITED STATES
      POSTAL SERVICE.




 Date: May 8, 2017

 MAIL MAIL:

 The following is in response to your May 8, 2017 request for delivery information on your
 Certified MailTm/RRE item number 92148901066154000106807141. The delivery record
 shows that this item was delivered on May 8, 2017 at 9:26 am in DALLAS, TX 75201.
 The scanned image of the recipient information is provided below.
                                                              141.ww00111
                                           D!.."1:1111!)4 I 4 2.
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 Signature of Recipient:




 Address of Recipient:
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                                              “)
 Thank you for selecting the Postal Service for your mailing needs.

 If you require additional assistance, please contact your local Post Office or postal
 representative.

 Sincerely,
 United States Postal Service




 The customer reference information shown below is not validated or endorsed by the
 United States Postal Service. It is solely for customer use.


                                 Reference ID: 92148901066154000106807141
                                 DC17-05068/ GDL
                                 BY SERVING REGISTERED AGENT CT CORPORATION SYSTEM
                                 ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY
                                 1999 Bryan St Ste 900
                                 Dallas, TX 75201-3140
                          Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                                          Page 28 of 30 PageID 39

                                                                                                                                                       i/
                                                                          OFFICER'S RETURN
Case No.: DC-17-05068                                                                                                                          ,        A,
                                                                                                                                               / /...        t.,..
Court No.95th District Court
Style: JESUS HERNANDEZ
vs.
ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY, et al
Came to hand on the 3RDday of MAY 2017 at 1:43 o'clock PM. Executed at 1999 BRYAN ST STE 900 within the County of                                                    at q; 24

o'clock      ' .M. on the                        day of   N1(4 ,1                                            , 20    / /4----- , by delivering to the within named ALLSTATE
VEHICLE AND PROPERTY INSURANCE COMPANY BY SERVING ITS REGISTERED AGENT C T CORPORATION SYSTEM, BY US CERTIFIED MAIL

RETURNED RECEIPT RECEIVED AND SIGNED BY
                                                          1rri -rho                          S
each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was               miles and my fees are as follows: To certify which witness my hand.


                               For serving Citation          $       76                            rerr Thon5s'ar-

                               For mileage                                                   of                       County,

                               For Notary                                                    By                             J                 Deputy

                                                                 (Must be verified if served outside the S    of Texas.)

Signed and sworn to by the said                                   before me this          day of                           , 20

to certify which witness my hand and seal of office.

9214 8901 0661 5400 0106 8071 41


                                                                                            Notary Public                         County



                                     FELICIA PITRE
                                     DISTRICT CLERK
                                     600 COMMERCE STREET
                                     DALLAS, TEXAS 752024606
                                                                                                                FILED
                                                                                                    DALLAS COUNTY
 Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                     Page 29 of 30 PageID 40   5/26/2017 12:09:21 PM
                                                                                                       FELICIA PITRE
                                                                                                     DISTRICT CLERK




                                    CAUSE NO. DC-17-05068


JESUS HERNANDEZ,                                              IN THE DISTRICT COURT OF

            Plaintiff,

V.
                                                              DALLAS COUNTY, TEXAS
ALLSTATE VEHICLE AND PROPERTY
INSURANCE COMPANY and DAVID
ROBERT KALTENBACH,

            Defendants.                                       95th JUDICIAL DISTRICT


                ORIGINAL ANSWER OF ALLSTATE VEHICLE AND PROPERTY
                 INSURANCE COMPANY AND DAVID ROBERT KALTENBACH

            Allstate Vehicle and Property Insurance Company and David Robert Kaltenbach

(collectively, "Defendants"), Defendants in the above-entitled action, files their Original Answer

and would show:

                                             I.
                                      ORIGINAL ANSWER

            Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants generally deny

each and every, all and singular, the allegations in Plaintiff's Original Petition, and, since they

are allegations of fact, requests that the Plaintiff be required to prove them by a preponderance of

the credible evidence as is required by state law.

            WHEREFORE, Defendants request that upon trial and hearing hereof, Plaintiff recover

nothing from Defendants, and that Defendants recover all costs of court and such other and

further relief at law or in equity to which they may be justly entitled.




                                                                                     EXHIBIT
ORIGINAL ANSWER OF ALLSTATE VEHICLE AND PROPERTY
INSURANCE COMPANY AND DAVID ROBERT KALTENBACH — Page 1
2734817v1
09999.999
 Case 3:17-cv-01511-D Document 1-2 Filed 06/07/17                    Page 30 of 30 PageID 41



                                              Respectfully submitted,

                                              THOMPSON, COE, COUSINS & IRONS, L.L.P.

                                              By: /s/ Bradford K Burdette
                                              Bradford K. Burdette
                                              State Bar No. 03364700
                                              bburdette@thompsoncoe.com
                                              Roger D. Higgins
                                              State Bar No. 9601500
                                              rhiggins@thompsoncoe.com
                                              700 N. Pearl Street, 25th Floor
                                              Dallas, Texas 75201-2832
                                              Telephone: (214) 871-8289
                                              Facsimile: (214) 871-8209

                                              ATTORNEYS FOR DEFENDANT
                                              ALLSTATE VEHICLE AND PROPERTY
                                              INSURANCE COMPANY and DAVID
                                              ROBERT KALTENBACH

                                   CERTIFICATE OF SERVICE

        I hereby certify that on May 26, 2017, a true and correct copy of the foregoing document
was served upon all known counsel by electronic service in accordance with the Texas Rules of
Civil Procedure:

            Matthew J. Worrall
            Worrall Law Group, PLLC
            1770 St. James Place, Suite 100
            Houston, TX 77056

                                              /s/ Bradford K Burdette
                                              Bradford K. Burdette




ORIGINAL ANSWER OF ALLSTATE VEHICLE AND PROPERTY
INSURANCE COMPANY AND DAVID ROBERT KALTENBACH — Page 2
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